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                               United States District Court
                                Middle District of Florida
                                  Jacksonville Division

JOHN P. VOGES, III,

             Plaintiff,

v.                                                            NO. 3:15-cv-1470-J-25PDB

ENHANCED RECOVERY COMPANY, LLC,

             Defendant.



                      Order Setting Settlement Conference

       Upon the Honorable Henry Lee Adams’ request, Doc. 12, a settlement conference

is scheduled for May 9, 2016, at 10:00 a.m., before the Honorable Patricia D. Barksdale,

at the Bryan Simpson United States Courthouse, in Courtroom 5B (5th floor), 300 North

Hogan Street, Jacksonville, Florida, 32202. The plaintiff and a representative of the

defendant with full settlement authority must attend in person. The parties should treat

the conference seriously; less than five percent of civil cases proceed to trial.

       No later than May 4, 2016, each party must submit directly to the Court a

confidential letter setting forth, at a minimum, (1) the key disputed issue or issues that

remain, (2) the minimum and maximum damages available to the plaintiff if he

prevails, (3) the approximate amount of attorney’s fees the defendant expects to expend

if the case proceeds through trial, (4) the approximate amount of costs under the
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categories in 28 U.S.C. § 19201 that the party expects to expend if the case proceeds

through trial, (5) the last rejected offer (if any), and (6) the names of the persons

attending the conference. The letters are for the Court’s benefit only, and the Court will

not disclose their content. The parties should send them to chambers by hand-delivery,

e-mail (chambers_flmd_barksdale@flmd.uscourts.gov), or facsimile ((904) 549-1957),

without providing a copy to the opposing side. The Court will destroy them after the

settlement conference regardless of whether the parties settle.

      The Court will conduct the settlement conference using a typical mediation

format. The Court will begin the conference on the record in the courtroom by explaining

the process and providing each party with an opportunity to briefly present his or her

position in a non-adversarial manner. The Court will then separate the parties and meet

with each one, going back and forth as warranted. The Court will end the conference in

the courtroom by announcing on the record whether the case has settled. Statements

made at the settlement conference are protected; if the case proceeds to trial, they

cannot be entered into the record.2



      1Section  1920 enumerates the following cost categories: “(1) Fees of the clerk and
marshal; (2) Fees for printed or electronically recorded transcripts necessarily obtained
for use in the case; (3) Fees and disbursements for printing and witnesses; (4) Fees for
exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case; (5) Docket fees under [28 U.S.C. § 1923];
(6) Compensation of court appointed experts, compensation of interpreters, and salaries,
fees, expenses, and costs of special interpretation services under [28 U.S.C. § 1828].”
      2For  more on the protection of statements made during settlement conferences,
the Court directs the parties to Federal Rule of Evidence 408 (“Compromise Offers and
Negotiations”), Chapter Nine of the Local Rules (“Court Annexed Mediation”), and, in
particular, Local Rule 9.07(b) (“Restrictions on the Use of Information Derived During
the Mediation Conference”).

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       Please note that anyone entering the courthouse must have photo identification

and that only lawyers with either a Florida Bar identification card or a pro-hac-vice

order may enter the courthouse with electronic devices. See General Order, Doc. 1, No.

6:13-mc-94-Orl-22.

       Ordered in Jacksonville, Florida, on April 6, 2016.




c:     Counsel of Record

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